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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

                                                       )
 GLOBALFOUNDRIES U.S. INC.                             )
                                                       )
 Plaintiff,                                            )     Case No. 6:19-cv-00495
                                                       )
                         v.                            )
                                                       )     JURY TRIAL DEMANDED
 AVNET, INC.                                           )
                                                       )
 Defendant.                                            )
                                                       )
                                                       )


                                           COMPLAINT

        Plaintiff Globalfoundries U.S. Inc. (“Globalfoundries” or “Plaintiff”) brings this patent

infringement action against Defendant Avnet, Inc. (“Avnet” or “Defendant”) as follows:

                                   NATURE OF THE ACTION

        1.       This is a civil action for infringement of United States Patent Nos. 8,581,348 (“’348

patent”), 9,355,910 (“’910 patent”), 7,425,497 (“’497 patent”), 8,598,633 (“’633 patent”),

6,518,167 (“’167 patent”), and 8,039,966 (“’966 patent”) (collectively, the “Asserted Patents”)

under the patent laws of the United States, 35 U.S.C. § 1 et seq.

                                           THE PARTIES

        2.       Plaintiff Globalfoundries U.S. Inc. is a Delaware corporation with its principal

place of business at 2600 Great America Way, Santa Clara, California 95054.

        3.       Defendant Avnet, Inc. is a New York corporation with its headquarters at 2211

South 47th Street, Phoenix, Arizona 85034.

                                  JURISDICTION AND VENUE



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       4.       The Court has subject matter jurisdiction over these claims under 28 U.S.C. §§ 1331

and 1338(a) and the patent laws of the United States, 35 U.S.C. § 1 et seq.

       5.       The Court has personal jurisdiction over Avnet consistent with the requirements of

the Due Process Clause of the United States Constitution and the Texas Long Arm Statute. On

information and belief, Avnet has regularly and systematically transacted business in Texas,

directly or through subsidiaries or intermediaries, and/or committed acts of patent infringement in

Texas as alleged more particularly below. Avnet has also placed integrated circuits using Taiwan

Semiconductor Manufacturing Corporation Ltd. (“TSMC”) 28 nanometer and smaller technology 1

and products containing these integrated circuits (the “Accused Products”) into the stream of

commerce by shipping Accused Products into Texas, shipping Accused Products knowing that

those products would be shipped into Texas, and/or shipping Accused Products knowing that these

Accused Products would be incorporated into other Accused Products that would be shipped into

Texas. For example, Avnet maintains an office at 9601 Amberglen Blvd, Suite 250, Austin, Texas

78729 within this district. On information and belief, Avnet provides services such as consulting,

marketing, and sales from this location to customers in Texas. The Court therefore has both

general and specific personal jurisdiction over Avnet.



1
  TSMC 28 nanometer and smaller technology includes TSMC’s 28 nanometer technology
(including TSMC’s High-k Metal Gate gate-last technology and high-performance compact
technology) (“28 Nanometer”), TSMC’s 22 nanometer technology (including TSMC’s 22
nanometer ultra-low power, 22 nanometer ultra-low leakage, and 22 nanometer ultra-low leakage
static random access memory technologies) (“22 Nanometer”), TSMC’s 20 nanometer technology
(“20 Nanometer”), TSMC’s 16/12 nanometer technology (including TSMC’s 16 nanometer Fin
Field Effect Transistor (“FinFET”) process, 16 nanometer FinFET Plus process, 16 nanometer
FinFET Compact Technology, and 12 nanometer FinFET Compact Technology) (“16
Nanometer”), TSMC’s 10 nanometer technology (including TSMC’s 10 nanometer FinFET
process) (“10 Nanometer”), TSMC’s 7 nanometer technology (including TSMC’s 7 nanometer
FinFET process) (“7 Nanometer”). Globalfoundries reserves the right to accuse any forthcoming
TSMC technology, such as TSMC’s 7 nanometer extreme ultraviolet lithography technology and
TSMC’s 5 nanometer technology.
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        6.       Venue is proper in this district under 28 U.S.C. § 1400(b) because Avnet has a

regular and established place of business in this district and has committed acts of infringement in

this district.

                                   FACTUAL BACKGROUND

        7.       Globalfoundries is a U.S. company with manufacturing facilities that use and

develop some of the world’s most advanced semiconductor devices available today. Building on

IBM’s world-class semiconductor technology heritage, Globalfoundries, the acquirer of IBM’s

semiconductor division, has been accredited as a Category 1A Microelectronics Trusted Source

for fabrication, design, and testing of microelectronics by the U.S. Department of Defense (DOD). 2

Globalfoundries’ East Fishkill, New York facility is currently the most advanced Trusted Foundry,

and as such is the only facility of its kind that can provide certain advanced circuits to satisfy the

DOD’s requirements. As the second-largest foundry in the world and the only advanced Trusted

Foundry, Globalfoundries is uniquely equipped to efficiently and quickly meet the DOD’s

advanced and highly classified manufacturing and production needs—and is also equipped to do

the same for its private-sector clients.

        8.       Globalfoundries is the most advanced pure-play foundry in the U.S. and Europe,

and employs thousands of people in the U.S. and worldwide. While other companies were

abandoning semiconductor manufacturing in the U.S., Globalfoundries bucked this trend by

investing billions of dollars on advanced technology and research in the United States.

Globalfoundries originated from another leading U.S. semiconductor company, Advanced Micro

Devices’ semiconductor manufacturing arm in 2009 and expanded globally through acquisition




2
 “Aerospace and Defense,” https://www.globalfoundries.com/market-solutions/aerospace-and-
defense.
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and organic investment. Its largest expenditure by far is its $15 billion organic U.S. investment in

its leading-edge, 300 acre facility known as Fab 8 in Malta, New York. Globalfoundries broke

ground for that state of the art facility in 2009 and produces leading edge technology from that

location to customers worldwide.        A major U.S. acquisition took place in 2015 when

Globalfoundries acquired IBM’s microelectronics facilities and personnel in Burlington, Vermont

and East Fishkill, New York—facilities that became Fab 9 and Fab 10, respectively.

Globalfoundries acquired not just IBM’s facilities and personnel, but also the fruits of IBM’s

decades of industry-leading investment in U.S. semiconductor fabrication capacity and

technology.     Specifically, Globalfoundries obtained 16,000 IBM patents and applications

(including the ’497 and ’966 patents asserted in this action); numerous world-class technologists;

decades of experience and expertise in semiconductor development, device expertise, design, and

manufacturing; and an expanded manufacturing footprint.               The acquisition cemented

Globalfoundries’ role as a global leader in world-class semiconductor manufacturing and advanced

process technologies.3

       9.       Globalfoundries’ U.S. manufacturing facilities in Burlington, Vermont; East

Fishkill, New York; and Malta, New York use and develop some of the most advanced process

nodes and differentiated technologies (inclusive of its 12/14nm FinFET, RF and Silicon Photonics

technology solutions) available today. Fab 8 is a leading fabrication facility for advanced

manufacturing in the U.S., with 40,875 square meters of cleanroom space and continued

expansion, and over 3,000 total employees as of June 2019. The current capital investment for the

Fab 8 campus stands at more than $15 billion, making Fab 8 the largest public-private sector



3
    “Globalfoundries Completes Acquisition of IBM Microelectronics Business,”
https://www.globalfoundries.com/news-events/press-releases/globalfoundries-completes-
acquisition-of-ibm-microelectronics-business.
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industrial investment in New York State’s history. The significance of this investment and its

importance to advanced manufacturing in the U.S. have been recognized by top government

officials, including by the President of the U.S. during a 2012 visit to New York hosted in part by

Globalfoundries.4

       10.     Globalfoundries’ investment from the Champlain Valley through the Hudson

Valley makes it the spine of the Northeast’s Tech Valley. Three out of Globalfoundries’ five fabs

are in the U.S., but investment does not stop at its manufacturing capacity. Globalfoundries’

manufacturing footprint is supported by facilities for research, development, sales, and design

enablement located near hubs of semiconductor activity, including in Santa Clara, California;

Dallas, Texas; Austin, Texas; Rochester, Minnesota; Endicott, New York; and Raleigh, North

Carolina. Of its 16,000 employees worldwide, approximately 7,200 are employed in the U.S.

       11.     Avnet is a technology solutions company that, among other things, markets and

sells products from Xilinx, Inc. (“Xilinx”). The manufacturer of the Xilinx products accused of

infringing in this action is TSMC. Unlike Globalfoundries, TSMC has taken a different approach

and has decided to simply use Globalfoundries’ patented inventions without payment or

permission. TSMC is a competing semiconductor foundry with manufacturing facilities located

primarily in Hsinchu, Taiwan. TSMC has recently expressed an interest in building a new

manufacturing facility in the U.S., but has not reported any tangible steps towards implementing

its ostensible interest. In contrast, TSMC completed building the most advanced manufacturing

facility of its kind in mainland China last year. By bringing advanced 16nm FinFet to China,

TSMC has positioned itself to benefit further from the shift in global supply chains out of the U.S.



4
   “Globalfoundries Welcomes President Barack Obama to NY’s Capital Region,”
https://blog.globalfoundries.com/globalfoundries-welcomes-president-barack-obama-to-nys-
capital-region/.
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and Europe into Greater China. TSMC develops, manufactures, imports, and sells for importation

into the U.S. semiconductor devices, including to the Defendant. But TSMC does these things on

the back of Globalfoundries, using Globalfoundries’ patented technologies to make its products.

Indeed, although its infringing chips have flooded the U.S. market, it appears that TSMC has

attempted to avoid being subject to patent infringement allegations in the U.S. through creative

legal and tax structuring. As set forth below, the Accused Products incorporate, without any

license from Globalfoundries, many technologies developed by Globalfoundries and protected by

patents owned by Globalfoundries. TSMC’s, and/or its customers’, importation of infringing

articles into the U.S. from Greater China and elsewhere abroad directly harms Globalfoundries

and its billions in U.S. investments in manufacturing. Globalfoundries respectfully seeks relief

from this Court for Defendant’s infringement.

                                  THE ASSERTED PATENTS

       12.     The ’348 patent is entitled “Semiconductor device with transistor local

interconnects,” and issued on November 12, 2013, to inventors Mahbub Rashed, Steven Soss,

Jongwook Kye, Irene Y. Lin, James Benjamin Gullette, Chinh Nguyen, Jeff Kim, Marc Tarabbia,

Yuansheng Ma, Yunfei Deng, Rod Augur, Seung-Hyun Rhee, Scott Johnson, Subramani Kengeri,

and Suresh Venkatesan. Globalfoundries owns the entire right, title, and interest in and to the ’348

patent. A copy of the ’348 patent is attached to this Complaint as Exhibit A.

       13.     The ’910 patent is entitled “Semiconductor device with transistor local

interconnects,” and issued on May 31, 2016 to inventors Mahbub Rashed, Irene Y. Lin, Steven

Soss, Jeff Kim, Chinh Nguyen, Marc Tarabbia, Scott Johnson, Subramani Kengeri, and Suresh

Venkatesan. Globalfoundries owns the entire right, title, and interest in and to the ’910 patent. A

copy of the ’910 patent is attached to this Complaint as Exhibit B.



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       14.     The ’497 patent is entitled “Introduction of metal impurity to change workfunction

of conductive electrodes,” and issued on September 16, 2008 to inventors Michael P. Chudzik,

Bruce B. Doris, Supratik Guha, Rajarao Jammy, Vijay Narayanan, Vamsi K. Paruchuri, Yun Y.

Wang, and Keith Kwong Hon Wong. Globalfoundries owns the entire right, title, and interest in

and to the ’497 patent. A copy of the ’497 patent is attached to this Complaint as Exhibit C.

       15.     The ’633 patent is entitled “Semiconductor device having contact layer providing

electrical connections,” and issued on December 3, 2013 to inventors Marc Tarabbia, James B.

Gullette, Mahbub Rashed, David S. Doman, Irene Y. Lin, Ingolf Lorenz, Larry Ho, Chinh Nguyen,

Jeff Kim, Jongwook Kye, Yuansheng Ma, Yunfel Deng, Rod Augur, Seung-Hyun Rhee, Jason E.

Stephens, Scott Johnson, Subramani Kengeri, and Suresh Venkatesan. Globalfoundries owns the

entire right, title, and interest in and to the ’633 patent. A copy of the ’633 patent is attached to

this Complaint as Exhibit D.

       16.     The ’167 patent is entitled “Method of forming a metal or metal nitride interface

layer between silicon nitride and copper,” and issued on February 11, 2003 to inventors Lu You,

Matthew S. Buynoski, Paul R. Besser, Jeremias D. Romero, Pin-Chin Connie Wang, and Minh Q.

Tran. Globalfoundries owns the entire right, title, and interest in and to the ’167 patent. A copy

of the ’167 patent is attached to this Complaint as Exhibit E.

       17.     The ’966 patent is entitled “Structures of and methods and tools for forming in-situ

metallic/dielectric caps for interconnects,” and issued on October 18, 2011 to inventors Chih-Chao

Yang and Chao-Kun Hu. Globalfoundries owns the entire right, title, and interest in and to the

’966 patent. A copy of the ’966 patent is attached to this Complaint as Exhibit F.

                          CLAIMS FOR PATENT INFRINGEMENT




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       18.     The allegations provided below are exemplary and without prejudice to

Globalfoundries’ infringement contentions. In providing these allegations, Globalfoundries does

not convey or imply any particular claim constructions or the precise scope of the claims.

Globalfoundries’ claim construction contentions regarding the meaning and scope of the claim

terms will be provided under the Court’s scheduling order.

       19.     As detailed below, each element of at least one claim of each of the Asserted Patents

is literally present in the Accused Products, or is literally practiced by the process through which

each of the Accused Products is made. To the extent that any element is not literally present or

practiced, each such element is present or practiced under the doctrine of equivalents.

                                     COUNT I
                          INFRINGEMENT OF THE ’348 PATENT

       20.     Globalfoundries incorporates by reference the allegations set forth in paragraphs 1

through 19 as though fully set forth herein.

       21.     On information and belief, Avnet has infringed and continues to infringe one or

more claims of the ’348 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, integrated circuits manufactured by TSMC

using, for example, TSMC’s 16 Nanometer technology and products containing these integrated

circuits (collectively, the “’348 Accused Products”), in violation of 35 U.S.C. § 271. The ’348

Accused Products include at least field programmable gate arrays, including 3D ICs (“FPGAs”),

adaptive compute acceleration platforms (“ACAPs”), and systems on a chip, including MPSoCs

and RFSoCs (“SoCs”), such as the Xilinx XCKU3P and XCKU15P families of FPGAs, and other

Kintex UltraScale+ FPGAs, fabricated using, for example, TSMC’s 16 Nanometer process.




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          22.   On information and belief, Avnet has directly infringed and continues to infringe

one or more claims of the ’348 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering to

sell in the United States, without authority or license, ’348 Accused Products, in violation of 35

U.S.C. § 271(a). On information and belief, Avnet imports ’348 Accused Products into the United

States for sales and distribution to customers located in the United States. On information and

belief, Avnet uses the ’348 Accused Products through at least testing, evaluations, and

demonstrations. For example, on information and belief, as part of its sales and customer-service

activities Avnet performs infringing demonstrations, evaluations, and testing of the Accused

Products in the United States, including training courses. On information and belief, Avnet

imports the ’348 Accused Products for the aforementioned uses. On information and belief, Avnet

sells ’348 Accused Products in the United States. For example, Avnet hires permanent sales

personnel located throughout the United States. In particular, Avnet has at least thirty-seven

offices throughout the United States. On information and belief, many of these offices engage in

sales activities. On information and belief, these sales activities include direct sales by Avnet to

customers. On information and belief, Avnet offers the ’348 Accused Products for sale in the

United States. For example, Avnet engages in sales, marketing, and consulting activity in the

United States and/or with United States offices of its customers. Avnet also sells and offers to sell

the ’348 Accused Products on its website www.avnet.com. Avnet also widely publicizes its

distributor relationship with Xilinx, including announcing partnerships with Xilinx through press

releases and advertising itself as an authorized dealer of Xilinx products, including in the United

States.




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        23.     The ’348 Accused Products meet all the limitations of at least claim 1 of the ’348

patent. Specifically, claim 1 of the ’348 patent claims a semiconductor device comprising: a

semiconductor substrate; a first transistor and a second transistor formed on said semiconductor

substrate; each of said transistors comprising a source, a drain, and a gate; a CA layer electrically

connected to at least one of said source or said drain of said first transistor; and a CB layer

electrically connected to both of said gates of said transistors and said CA layer.

        24.     The ’348 Accused Products are semiconductor devices. Each is an integrated

circuit fabricated using, for example, TSMC’s 16 Nanometer semiconductor process.

        25.     The ’348 Accused Products have a semiconductor substrate. Each is an integrated

circuit fabricated using, for example, TSMC’s 16 Nanometer semiconductor process such that the

circuit’s structures are fabricated on top of a semiconductor substrate.

        26.     The ’348 Accused Products have a first transistor and a second transistor formed

on said semiconductor substrate. Each is an integrated circuit fabricated using, for example,

TSMC’s 16 Nanometer semiconductor process such that at least two transistors are formed on the

semiconductor substrate.

        27.     In the ’348 Accused Products, each of the said transistors comprise a source, a

drain, and a gate. Each is an integrated circuit fabricated using, for example, TSMC’s 16

Nanometer semiconductor process such that at least two transistors are formed on the

semiconductor substrate, where each transistor has a source, a drain, and a gate.

        28.     The ’348 Accused Products have a CA layer electrically connected to at least one

of said source or said drain of said first transistor. Each includes, for example, SRAM cells made

up of multiple transistors. The SRAM cells are fabricated with a local interconnect layer that

electrically connects to either the source or drain of a first transistor.



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       29.     The ’348 Accused Products have a CB layer electrically connected to both of said

gates of said transistors and said CA layer. Each includes, for example, SRAM cells made up of

multiple transistors. The SRAM cells are fabricated with a local interconnect layer that electrically

connects the gate of the first transistor, the gate of the second transistor, and another local

interconnect layer.

       30.     Globalfoundries has suffered and continues to suffer damages as a result of

Defendant’s infringement of the ’348 patent.

       31.     Defendant’s continuing acts of infringement are a basis of consumer demand for

the ’348 Accused Products. Defendant’s continuing acts of infringement are therefore irreparably

harming and causing damage to Globalfoundries, for which Globalfoundries has no adequate

remedy at law, and will continue to suffer such irreparable injury unless Defendant’s continuing

acts of infringement are enjoined by the Court. The hardships that an injunction would impose are

less than those faced by Globalfoundries should an injunction not issue. The public interest would

be served by issuance of an injunction.

                                    COUNT II
                          INFRINGEMENT OF THE ’910 PATENT

       32.     Globalfoundries incorporates by reference the allegations set forth in paragraphs 1

through 31 as though fully set forth herein.

       33.     On information and belief, Avnet has infringed and continues to infringe one or

more claims of the ’910 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, integrated circuits manufactured by TSMC

using, for example, TSMC’s 16 Nanometer technology and products containing these integrated

circuits (collectively, the “’910 Accused Products”), in violation of 35 U.S.C. § 271. The ’910


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Accused Products include at least field programmable gate arrays, including 3D ICs (“FPGAs”),

adaptive compute acceleration platforms (“ACAPs”), and systems on a chip, including MPSoCs

and RFSoCs (“SoCs”), such as the Xilinx XCKU3P and XCKU15P families of FPGAs, and other

Kintex UltraScale+ FPGAs, fabricated using, for example, TSMC’s 16 Nanometer process.

       34.     On information and belief, Avnet has directly infringed and continues to infringe

one or more claims of the ’910 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering to

sell in the United States, without authority or license, ’910 Accused Products, in violation of 35

U.S.C. § 271(a). On information and belief, Avnet imports ’910 Accused Products into the United

States for sales and distribution to customers located in the United States. On information and

belief, Avnet uses the ’910 Accused Products through at least testing, evaluations, and

demonstrations. For example, on information and belief, as part of its sales and customer-service

activities Avnet performs infringing demonstrations, evaluations, and testing of the Accused

Products in the United States, including training courses. On information and belief, Avnet

imports the ’910 Accused Products for the aforementioned uses. On information and belief, Avnet

sells ’910 Accused Products in the United States. For example, Avnet hires permanent sales

personnel located throughout the United States. In particular, Avnet has at least thirty-seven

offices throughout the United States. On information and belief, many of these offices engage in

sales activities. On information and belief, these sales activities include direct sales by Avnet to

customers. On information and belief, Avnet offers the ’910 Accused Products for sale in the

United States. For example, Avnet engages in sales, marketing, and consulting activity in the

United States and/or with United States offices of its customers. Avnet also sells and offers to sell

the ’910 Accused Products on its website www.avnet.com. Avnet also widely publicizes its



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distributor relationship with Xilinx, including announcing partnerships with Xilinx through press

releases and advertising itself as an authorized dealer of Xilinx products, including in the United

States.

          35.   The ’910 Accused Products meet all the limitations of at least claim 1 of the ’910

patent. Specifically, claim 1 of the ’910 patent claims a semiconductor device comprising: a

semiconductor substrate; a first transistor and a second transistor disposed on said substrate; each

of said transistors comprising a source, a drain, and a gate; a first CB layer electrically connected

to said gate of said first transistor; a second CB layer electrically connected to said gate of said

second transistor; and a CA layer extending longitudinally between a first end and a second end;

wherein said first CB layer is electrically connected to said first end of said CA layer; said second

CB layer is electrically connected to said second end of said CA layer; said gate of said first

transistor extends longitudinally along a first line and said gate of said second transistor extends

longitudinally along a second line, wherein said first and second lines are generally parallel to one

another and spaced apart from one another; and said CA layer extends generally parallel to said

lines and generally perpendicular to said first CB layer and said second CB layer; and wherein said

first CB layer extends longitudinally beyond said gate of said first transistor and/or said second

CB layer extends longitudinally beyond said gate of said second transistor.

          36.   The ’910 Accused Products are semiconductor devices. Each is an integrated

circuit fabricated using, for example, TSMC’s 16 Nanometer semiconductor process.

          37.   The ’910 Accused Products have a semiconductor substrate. Each is an integrated

circuit fabricated using, for example, TSMC’s 16 Nanometer semiconductor process such that the

circuit’s structures are fabricated on top of a semiconductor substrate.




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        38.      The ’910 Accused Products have a first transistor and a second transistor disposed

on said substrate. Each is an integrated circuit fabricated using, for example, TSMC’s 16

Nanometer semiconductor process such that at least two transistors are formed on the

semiconductor substrate.

        39.      In the ’910 Accused Products, each of the said transistors comprise a source, a

drain, and a gate. Each is an integrated circuit fabricated using, for example, TSMC’s 16

Nanometer semiconductor process such that at least two transistors are formed on the substrate,

where each transistor has a source, a drain, and a gate.

        40.      The ’910 Accused Products have a first CB layer electrically connected to said gate

of said first transistor. Each includes, for example, SRAM cells made up of multiple transistors.

The SRAM cells are fabricated with a local interconnect layer that electrically connects to the gate

of a first transistor.

        41.      The ’910 Accused Products have a second CB layer electrically connected to said

gate of said second transistor. Each includes, for example, SRAM cells made up of multiple

transistors. The SRAM cells are fabricated with another local interconnect layer that electrically

connects to the gate of a second transistor.

        42.      The ’910 Accused Products have a CA layer extending longitudinally between a

first end and a second end; wherein said first CB layer is electrically connected to said first end of

said CA layer; said second CB layer is electrically connected to said second end of said CA layer.

Each includes, for example, SRAM cells made up of multiple transistors. The SRAM cells are

fabricated with a layer having a first end and a second end that extends longitudinally such that its

ends electrically connect the first and second local interconnect layers.




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        43.     In the ’910 Accused Products, the gate of said first transistor extends longitudinally

along a first line and said gate of said second transistor extends longitudinally along a second line,

wherein said first and second lines are generally parallel to one another and spaced apart from one

another. Each includes, for example, SRAM cells made up of multiple transistors. The SRAM

cells are fabricated such that the first and second transistors include gates that extend longitudinally

along lines that are generally parallel to one another and spaced apart.

        44.     In the ’910 Accused Products, the CA layer extends generally parallel to said lines

and generally perpendicular to said first CB layer and said second CB layer. Each includes, for

example, SRAM cells made up of multiple transistors. The SRAM cells are fabricated such that a

local interconnect layer is parallel to the lines on which the gates of the first and second transistors

lie, and the local interconnect layer is perpendicular to the first and second local interconnect layers

described in ¶¶ 40 and 41.

        45.     In the ’910 Accused Products, one or both of the CB layers extends longitudinally

beyond the respective gates of the first and second transistors. Each includes, for example, SRAM

cells made up of multiple transistors.       The SRAM cells are fabricated such that the local

interconnect layers described in ¶¶ 40 and 41 extend longitudinally beyond the gates of a first

and/or second transistor.

        46.     Globalfoundries has suffered and continues to suffer damages as a result of

Defendant’s infringement of the ’910 patent.

        47.     Defendant’s continuing acts of infringement are a basis of consumer demand for

the ’910 Accused Products. Defendant’s continuing acts of infringement are therefore irreparably

harming and causing damage to Globalfoundries, for which Globalfoundries has no adequate

remedy at law, and will continue to suffer such irreparable injury unless Defendant’s continuing



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acts of infringement are enjoined by the Court. The hardships that an injunction would impose are

less than those faced by Globalfoundries should an injunction not issue. The public interest would

be served by issuance of an injunction.

                                    COUNT III
                          INFRINGEMENT OF THE ’497 PATENT

       48.     Globalfoundries incorporates by reference the allegations set forth in paragraphs 1

through 47 as though fully set forth herein.

       49.     On information and belief, Avnet has directly infringed and continues to infringe

claim 1 of the ’497 patent literally or under the doctrine of equivalents, by importing into the

United States, and/or using, and/or selling, and/or offering for sale in the United States, without

authority or license, integrated circuits manufactured by TSMC using, for example, TSMC’s 28

Nanometer or 16 Nanometer technology and products containing these integrated circuits

(collectively, the “’497 Accused Products”), in violation of 35 U.S.C. § 271. The ’497 Accused

Products include at least field programmable gate arrays, including 3D ICs (“FPGAs”), adaptive

compute acceleration platforms (“ACAPs”), and systems on a chip, including MPSoCs and

RFSoCs (“SoCs”), such as the Xilinx XCKU3P and XCKU15P families of FPGAs, and other

Kintex UltraScale+ FPGAs, fabricated using, for example, TSMC’s 28 Nanometer or 16

Nanometer process.

       50.     On information and belief, Avnet has directly infringed and continues to infringe

claim 1 of the ’497 patent literally or under the doctrine of equivalents, by importing into the

United States, and/or using, and/or selling, and/or offering to sell in the United States, without

authority or license, ’497 Accused Products, in violation of 35 U.S.C. § 271(g). On information

and belief, Avnet imports ’497 Accused Products into the United States for sales and distribution

to customers located in the United States. On information and belief, Avnet uses the ’497 Accused


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Products through at least testing, evaluations, and demonstrations. For example, on information

and belief, as part of its sales and customer-service activities Avnet performs infringing

demonstrations, evaluations, and testing of the Accused Products in the United States, including

training courses. On information and belief, Avnet imports the ’497 Accused Products for the

aforementioned uses. On information and belief, Avnet sells ’497 Accused Products in the United

States. For example, Avnet hires permanent sales personnel located throughout the United States.

In particular, Avnet has at least thirty-seven offices throughout the United States. On information

and belief, many of these offices engage in sales activities. On information and belief, these sales

activities include direct sales by Avnet to customers. On information and belief, Avnet offers the

’497 Accused Products for sale in the United States. For example, Avnet engages in sales,

marketing, and consulting activity in the United States and/or with United States offices of its

customers.    Avnet also sells and offers to sell the ’497 Accused Products on its website

www.avnet.com. Avnet also widely publicizes its distributor relationship with Xilinx, including

announcing partnerships with Xilinx through press releases and advertising itself as an authorized

dealer of Xilinx products, including in the United States.

       51.     The ’497 Accused Products are manufactured by a process including all of the

limitations of claim 1 of the ’497 patent. Specifically, claim 1 of the ’497 patent claims a method

of changing workfunction of a conductive stack comprising: providing a material stack that

comprises a Hf-based dielectric having a dielectric constant of greater than silicon dioxide, a metal-

containing material including at least one metal selected from Ti, Zr, Hf, V, Nb and Ta located

above said Hf-based dielectric, and a conductive electrode located above said metal-containing

material; and introducing at least one workfunction altering metal impurity into said metal-

containing material, wherein said at least one workfunction altering metal impurity is introduced



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during forming of a metal impurity containing layer or after formation of a layer containing said

metal-containing material, and said introducing is selected from (i) codepositing the at least one

workfunction altering metal impurity and the metal-containing material, (ii) forming a first layer

of the metal-containing material, forming a layer containing the metal impurities on said first layer,

and forming a second layer of the metal-containing material, and (iii) forming a material layer

containing the metal impurities below and/or above the metal-containing material, and subjecting

the material stack to a thermal process, and with the proviso that when an n-type workfunction is

required, the at least one workfunction altering metal impurity comprises at least one element from

Groups IIIB, IVB, or VB of the Periodic Table of Elements, and when a p-type workfunction is

required the at least one workfunction altering metal impurity comprises at least one element from

VIB, VIIB or VIII of the Periodic Table of Elements.

       52.     The ’497 Accused Products are made by a method of changing workfunction of a

conductive stack. TSMC’s manufacture of each of the ’497 Accused Products involves changing

workfunction for at least some conductive stacks in the product.

       53.     During the manufacture of the ’497 Accused Products, a material stack is provided

that comprises a Hf-based dielectric having a dielectric constant of greater than silicon dioxide, a

metal-containing material including at least one metal selected from Ti, Zr, Hf, V, Nb and Ta

located above said Hf-based dielectric, and a conductive electrode located above said metal-

containing material. TSMC’s manufacture of at least one n-type FET in each of the ’497 Accused

Products includes creating a material stack with an Hf-based dielectric on top of a substrate. Hf-

based dielectrics are known in the art to have a dielectric constant greater than silicon dioxide.

TSMC’s manufacture of at least one n-type FET in each of the ’497 Accused Products includes a

metal-containing material that includes titanium metal above the Hf-based dielectric. TSMC’s



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manufacture of at least one n-type FET in each of the ’497 Products includes a conductive electrode

located above the metal-containing material to form the gate of at least one n-type FET.

       54.     During the manufacture of the ’497 Accused Products, at least one workfunction

altering metal impurity is introduced into said metal-containing material, wherein said at least one

workfunction altering metal impurity is introduced during forming of a metal impurity containing

layer or after formation of a layer containing said metal-containing material, and said introducing

is selected from (i) codepositing the at least one workfunction altering metal impurity and the

metal-containing material, (ii) forming a first layer of the metal-containing material, forming a

layer containing the metal impurities on said first layer, and forming a second layer of the metal-

containing material, and (iii) forming a material layer containing the metal impurities below and/or

above the metal-containing material, and subjecting the material stack to a thermal process, and

with the proviso that when an n-type workfunction is required, the at least one workfunction

altering metal impurity comprises at least one element from Groups IIIB, IVB, or VB of the

Periodic Table of Elements, and when a p-type workfunction is required the at least one

workfunction altering metal impurity comprises at least one element from VIB, VIIB or VIII of

the Periodic Table of Elements. TSMC’s manufacture of at least one n-type FET in each of the

’497 Accused Products includes introducing tantalum into the metal-containing material. The

tantalum is introduced into the metal impurity containing layer by forming a first layer of the

metal-containing material (titanium), forming a layer containing the tantalum metal impurities on

the first layer, and forming a second layer of the metal-containing material (titanium). Tantalum

is a Group VB metal. By this process, the workfunction of the material stack is altered.




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       55.     On information and belief, the ’497 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       56.     Globalfoundries has suffered and continues to suffer damages as a result of

Defendant’s infringement of the ’497 patent.

       57.     Defendant’s continuing acts of infringement are a basis of consumer demand for

the ’497 Accused Products. Defendant’s continuing acts of infringement are therefore irreparably

harming and causing damage to Globalfoundries, for which Globalfoundries has no adequate

remedy at law, and will continue to suffer such irreparable injury unless Defendant’s continuing

acts of infringement are enjoined by the Court. The hardships that an injunction would impose are

less than those faced by Globalfoundries should an injunction not issue. The public interest would

be served by issuance of an injunction.

                                    COUNT IV
                          INFRINGEMENT OF THE ’633 PATENT

       58.     Globalfoundries incorporates by reference the allegations set forth in paragraphs 1

through 57 as though fully set forth herein.

       59.     On information and belief, Avnet has infringed and continues to infringe one or

more claims of the ’633 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, integrated circuits manufactured by TSMC

using, for example, TSMC’s 16 Nanometer technology and products containing these integrated

circuits (collectively, the “’633 Accused Products”), in violation of 35 U.S.C. § 271. The ’633

Accused Products include at least field programmable gate arrays, including 3D ICs (“FPGAs”),

adaptive compute acceleration platforms (“ACAPs”), and systems on a chip, including MPSoCs


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and RFSoCs (“SoCs”), such as the Xilinx XCKU3P and XCKU15P families of FPGAs, and other

Kintex UltraScale+ FPGAs, fabricated using, for example, TSMC’s 16 Nanometer process.

       60.     On information and belief, Avnet has directly infringed and continues to infringe

one or more claims of the ’633 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering to

sell in the United States, without authority or license, ’633 Accused Products, in violation of 35

U.S.C. § 271(a). On information and belief, Avnet imports ’633 Accused Products into the United

States for sales and distribution to customers located in the United States. On information and

belief, Avnet uses the ’633 Accused Products through at least testing, evaluations, and

demonstrations. For example, on information and belief, as part of its sales and customer-service

activities Avnet performs infringing demonstrations, evaluations, and testing of the Accused

Products in the United States, including training courses. On information and belief, Avnet

imports the ’633 Accused Products for the aforementioned uses. On information and belief, Avnet

sells ’633 Accused Products in the United States. For example, Avnet hires permanent sales

personnel located throughout the United States. In particular, Avnet has at least thirty-seven

offices throughout the United States. On information and belief, many of these offices engage in

sales activities. On information and belief, these sales activities include direct sales by Avnet to

customers. On information and belief, Avnet offers the ’633 Accused Products for sale in the

United States. For example, Avnet engages in sales, marketing, and consulting activity in the

United States and/or with United States offices of its customers. Avnet also sells and offers to sell

the ’633 Accused Products on its website www.avnet.com. Avnet also widely publicizes its

distributor relationship with Xilinx, including announcing partnerships with Xilinx through press




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releases and advertising itself as an authorized dealer of Xilinx products, including in the United

States.

          61.   The ’633 Accused Products meet all the limitations of at least claim 1 of the ’633

patent. Specifically, claim 1 of the ’633 patent claims a semiconductor device comprising: a

semiconductor substrate having a diffusion region; a transistor formed within said diffusion region

and comprising a source, a drain, and a gate; a metal layer including a power rail disposed outside

said diffusion region and a pin layer extending from said diffusion region to outside said diffusion

region; a contact layer disposed above said substrate and below said metal layer; and a via disposed

between said contact layer and said power rail to electrically connect said contact layer to said

power rail; and wherein said contact layer includes a first length disposed outside said diffusion

region and a second length extending from said first length into said diffusion region and

electrically connected to said transistor.

          62.   The ’633 Accused Products are semiconductor devices. Each is an integrated

circuit fabricated using, for example, TSMC’s 16 Nanometer semiconductor process.

          63.   The ’633 Accused Products have a semiconductor substrate having a diffusion

region. Each is an integrated circuit fabricated using, for example, TSMC’s 16 Nanometer

semiconductor process such that the circuit’s structures are fabricated on top of a semiconductor

substrate. The substrate of each has a diffusion region.

          64.   The ’633 Accused Products have a transistor formed within the diffusion region

and comprising a source, a drain, and a gate. Each is an integrated circuit fabricated using, for

example, TSMC’s 16 Nanometer semiconductor process such that each has a transistor formed

within the diffusion region of the substrate, where each transistor has a source, a drain, and a gate.




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       65.     The ’633 Accused Products have a metal layer including a power rail disposed

outside said diffusion region and a pin layer extending from said diffusion region to outside said

diffusion region.   Each is an integrated circuit fabricated using, for example, TSMC’s 16

Nanometer semiconductor process such that each has a metal layer including a power rail, where

the power rail is disposed outside the diffusion region. Each has a pin layer extending from the

diffusion region to outside the diffusion region. For example, in integrated circuits including a

GPU, a power rail is formed outside the diffusion region at the M1 level, and a pin layer is formed

extending both inside and outside the diffusion region.

       66.     The ’633 Accused Products have a contact layer disposed above said substrate and

below said metal layer; and a via disposed between said contact layer and said power rail to

electrically connect said contact layer to said power rail. Each is an integrated circuit fabricated

using, for example, TSMC’s 16 Nanometer semiconductor process such that each has a contact

layer disposed above the substrate and below the metal layer. Each has a via between the contact

layer and the power rail. The via connects the contact layer to the power rail. For example, in

integrated circuits including a GPU, a contact layer is formed below the M1 level, and at least one

via is disposed between the contact layer and the power rail such that the two are electrically

connected.

       67.     In the ’633 Accused Products said contact layer includes a first length disposed

outside said diffusion region and a second length extending from said first length into said

diffusion region and electrically connected to said transistor. The contact layer has a first length

disposed outside the diffusion region. The contact layer includes a second length extending from

the first length into the diffusion region. At least some of the second lengths are electrically

connected to at least some of the transistors. For example, in integrated circuits including a GPU,



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the contact layer is formed such that it extends from outside the diffusion region to inside the

diffusion region and electrically connects to at least some transistors.

       68.     Globalfoundries has suffered and continues to suffer damages as a result of

Defendant’s infringement of the ’633 patent.

       69.     Defendant’s continuing acts of infringement are a basis of consumer demand for

the ’633 Accused Products. Defendant’s continuing acts of infringement are therefore irreparably

harming and causing damage to Globalfoundries, for which Globalfoundries has no adequate

remedy at law, and will continue to suffer such irreparable injury unless Defendant’s continuing

acts of infringement are enjoined by the Court. The hardships that an injunction would impose are

less than those faced by Globalfoundries should an injunction not issue. The public interest would

be served by issuance of an injunction.

                                    COUNT V
                          INFRINGEMENT OF THE ’167 PATENT

       70.     Globalfoundries incorporates by reference the allegations set forth in paragraphs 1

through 69 as though fully set forth herein.

       71.     On information and belief, Avnet has infringed and continues to infringe one or

more claims of the ’167 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, integrated circuits manufactured by TSMC

using, for example, TSMC’s 16 Nanometer technology and products containing these integrated

circuits (collectively, the “’167 Accused Products”), in violation of 35 U.S.C. § 271. The ’167

Accused Products include at least field programmable gate arrays, including 3D ICs (“FPGAs”),

adaptive compute acceleration platforms (“ACAPs”), and systems on a chip, including MPSoCs




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and RFSoCs (“SoCs”), such as the Xilinx XCKU3P and XCKU15P families of FPGAs, and other

Kintex UltraScale+ FPGAs, fabricated using, for example, TSMC’s 16 Nanometer process.

       72.     On information and belief, Avnet has directly infringed and continues to infringe

one or more claims of the ’167 patent, including at least claim 1, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering to

sell in the United States, without authority or license, ’167 Accused Products, in violation of 35

U.S.C. § 271(g). On information and belief, Avnet imports ’167 Accused Products into the United

States for sales and distribution to customers located in the United States. On information and

belief, Avnet uses the ’167 Accused Products through at least testing, evaluations, and

demonstrations. For example, on information and belief, as part of its sales and customer-service

activities Avnet performs infringing demonstrations, evaluations, and testing of the Accused

Products in the United States, including training courses. On information and belief, Avnet

imports the ’167 Accused Products for the aforementioned uses. On information and belief, Avnet

sells ’167 Accused Products in the United States. For example, Avnet hires permanent sales

personnel located throughout the United States. In particular, Avnet has at least thirty-seven

offices throughout the United States. On information and belief, many of these offices engage in

sales activities. On information and belief, these sales activities include direct sales by Avnet to

customers. On information and belief, Avnet offers the ’167 Accused Products for sale in the

United States. For example, Avnet engages in sales, marketing, and consulting activity in the

United States and/or with United States offices of its customers. Avnet also sells and offers to sell

the ’167 Accused Products on its website www.avnet.com. Avnet also widely publicizes its

distributor relationship with Xilinx, including announcing partnerships with Xilinx through press




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releases and advertising itself as an authorized dealer of Xilinx products, including in the United

States.

          73.   The ’167 Accused Products are manufactured by a process including all of the

limitations of at least claim 1 of the ’167 patent. Specifically, claim 1 of the ’167 patent claims a

method of forming a metal layer interface between a copper layer and a silicon nitride layer, the

method comprising: providing a metal organic gas over a copper layer; forming a metal layer from

reactions between the metal organic gas and the copper layer; and depositing a silicon nitride layer

over the metal layer and copper layer, the metal layer providing an interface adhesion between the

silicon nitride layer and the copper layer.

          74.   The ’167 Accused Products are made by a method of forming a metal layer

interface between a copper layer and a silicon nitride layer. TSMC’s manufacture of the ’167

Accused Products results in a metal layer interface. The metal layer interface is between a copper

layer and a silicon nitride layer. On information and belief, TSMC uses a selective CVD cobalt

process to perform this method.

          75.   During the manufacture of the ’167 Accused Products a metal organic gas is

provided over a copper layer. TSMC’s manufacture of the ’167 Accused Products provides a

metal organic gas over a copper layer. On information and belief, TSMC uses a selective CVD

cobalt process to perform this method.

          76.   During the manufacture of the ’167 Accused Products, a metal layer is formed from

reactions between the metal organic gas and the copper layer. TSMC’s manufacture of the ’167

Accused Products forms a cobalt metal layer from reactions between the metal organic gas and the

copper layer. On information and belief, TSMC uses a selective CVD cobalt process to perform

this method.



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       77.     During the manufacture of the ’167 Accused Products, a silicon nitride layer is

deposited over the metal layer and the copper layer.       On information and belief, TSMC’s

manufacture of the ’167 Accused Products deposits a silicon nitride layer over the metal layer and

the copper layer. On information and belief, TSMC uses a selective CVD cobalt process to

perform this method.

       78.     During the manufacture of the ’167 Accused Products, the metal layer provides an

interface adhesion between the silicon nitride layer and the copper layer. TSMC’s manufacture of

the ’167 Accused Products provides an interface adhesion between the silicon nitride layer and the

copper layer. On information and belief, TSMC uses a selective CVD cobalt process to perform

this method.

       79.     On information and belief, the ’167 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       80.     Globalfoundries has suffered and continues to suffer damages as a result of

Defendant’s infringement of the ’167 patent.

       81.     Defendant’s continuing acts of infringement are a basis of consumer demand for

the ’167 Accused Products. Defendant’s continuing acts of infringement are therefore irreparably

harming and causing damage to Globalfoundries, for which Globalfoundries has no adequate

remedy at law, and will continue to suffer such irreparable injury unless Defendant’s continuing

acts of infringement are enjoined by the Court. The hardships that an injunction would impose are

less than those faced by Globalfoundries should an injunction not issue. The public interest would

be served by issuance of an injunction.

                                   COUNT VI
                         INFRINGEMENT OF THE ’966 PATENT

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       82.     Globalfoundries incorporates by reference the allegations set forth in paragraphs 1

through 81 as though fully set forth herein.

       83.     On information and belief, Avnet has infringed and continues to infringe one or

more claims of the ’966 patent, including at least claim 12, literally or under the doctrine of

equivalents, by importing into the United States, and/or using, and/or selling, and/or offering for

sale in the United States, without authority or license, integrated circuits manufactured by TSMC

using, for example, TSMC’s 16 Nanometer technology and products containing these integrated

circuits (collectively, the “’966 Accused Products”), in violation of 35 U.S.C. § 271. The ’966

Accused Products include at least field programmable gate arrays, including 3D ICs (“FPGAs”),

adaptive compute acceleration platforms (“ACAPs”), and systems on a chip, including MPSoCs

and RFSoCs (“SoCs”), such as the Xilinx XCKU3P and XCKU15P families of FPGAs, and other

Kintex UltraScale+ FPGAs, fabricated using, for example, TSMC’s 16 Nanometer process.

       84.     On information and belief, Avnet has directly infringed and continues to infringe

one or more claims of the ’966 patent, including at least claim 12, literally or under the doctrine

of equivalents, by importing into the United States, and/or using, and/or selling, and/or offering to

sell in the United States, without authority or license, ’966 Accused Products, in violation of 35

U.S.C. § 271(a) and (g). On information and belief, Avnet imports ’966 Accused Products into

the United States for sales and distribution to customers located in the United States. On

information and belief, Avnet uses the ’966 Accused Products through at least testing, evaluations,

and demonstrations. For example, on information and belief, as part of its sales and customer-

service activities Avnet performs infringing demonstrations, evaluations, and testing of the

Accused Products in the United States, including training courses. On information and belief,

Avnet imports the ’966 Accused Products for the aforementioned uses. On information and belief,



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Avnet sells ’966 Accused Products in the United States. For example, Avnet hires permanent sales

personnel located throughout the United States. In particular, Avnet has at least thirty-seven

offices throughout the United States. On information and belief, many of these offices engage in

sales activities. On information and belief, these sales activities include direct sales by Avnet to

customers. On information and belief, Avnet offers the ’966 Accused Products for sale in the

United States. For example, Avnet engages in sales, marketing, and consulting activity in the

United States and/or with United States offices of its customers. Avnet also sells and offers to sell

the ’966 Accused Products on its website www.avnet.com. Avnet also widely publicizes its

distributor relationship with Xilinx, including announcing partnerships with Xilinx through press

releases and advertising itself as an authorized dealer of Xilinx products, including in the United

States.

          85.   The ’966 Accused Products meet all the limitations of at least claim 12 of the ’966

patent. Specifically, claim 12 of the ’966 patent claims a structure, comprising: a wire embedded

in a dielectric layer on a semiconductor substrate, said wire comprising a copper core and an

electrically conductive liner on sidewalls and a bottom of said copper core, said copper core and

said electrically conductive liner exposed at a top surface of said dielectric layer; a metal cap on

an entire top surface of said copper core; a dielectric cap only over (i) said metal cap, (ii) any

exposed portions of said liner, and (iii) on said top surface of said dielectric layer; and wherein an

interface between said copper core and said metal layer does not contain oxygen.

          86.   The ’966 Accused Products are structures. Each is an integrated circuit fabricated

using, for example, TSMC’s 16 Nanometer semiconductor process.

          87.   The ’966 Accused Products have a wire embedded on a dielectric layer on a

semiconductor substrate. Each is an integrated circuit fabricated using, for example, TSMC’s 16



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Nanometer semiconductor process such that there is a dielectric layer on a semiconductor

substrate. For example, at least some of the ’966 Accused Products have a SiOC dielectric layer

on a semiconductor substrate. The ’966 Accused Products have a wire embedded in the dielectric

layer as part of, for example, the M1-M3 interconnects.

        88.     The ’966 Accused Products have a wire that has a copper core and an electrically

conductive liner on sidewalls and a bottom of said copper core. Each contains wires with copper

cores, for example as part of the M1-M3 interconnects. At least some of those wires have an

electrically conductive liner including, for example, tantalum and cobalt, on the sidewalls and

bottom of the copper core. Tantalum and cobalt are electrically conductive.

        89.     The ’966 Accused Products have a wire that has a copper core and an electrically

conductive liner exposed at the top surface of said dielectric layer. In the ’966 Accused Products,

in at least some instances, the copper core, electrically conductive liner including cobalt and

tantalum are exposed at the top surface of the dielectric layer of, for example, at least one of the

M1-M3 interconnect layers.

        90.     The ’966 Accused Products have a metal cap on an entire top surface of said copper

core. In the ’966 Accused Products, at least some the wires have a cobalt cap on the entire top

surface of the copper core. Cobalt is a metal.

        91.     The ’966 Accused Products have a dielectric cap only over said metal cap, any

exposed portions of said liner, and on said top surface of said dielectric layer. In the ’966 Accused

Products at least some of the wires have, for example, a SiNC dielectric cap that covers only the

cobalt metal cap, any exposed portions of the conductive liner, and the top surface of the SiOC

dielectric layer.




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       92.     The ’966 Accused Products have a structure wherein an interface between said

copper core and said metal layer does not contain oxygen. In the ’966 Accused Products, the

interface between the copper core and the cobalt cap of at least some of the wires contains no

oxygen.

       93.     On information and belief, the ’966 Accused Products are neither materially

changed by subsequent processes nor become trivial and nonessential components of another

product.

       94.     Globalfoundries has suffered and continues to suffer damages as a result of

Defendant’s infringement of the ’966 patent.

       95.     Defendant’s continuing acts of infringement are a basis of consumer demand for

the ’966 Accused Products. Defendant’s continuing acts of infringement are therefore irreparably

harming and causing damage to Globalfoundries, for which Globalfoundries has no adequate

remedy at law, and will continue to suffer such irreparable injury unless Defendant’s continuing

acts of infringement are enjoined by the Court. The hardships that an injunction would impose are

less than those faced by Globalfoundries should an injunction not issue. The public interest would

be served by issuance of an injunction.

                                          JURY DEMAND

       96.     Plaintiff demands a jury trial as to all issues that are triable by a jury in this action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays for relief as follows:

               (a)     Judgment that Defendant is liable for infringement of one or more claims of

       each of the Asserted Patents;




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       (b)     An Order permanently enjoining Defendant and its respective officers,

agents, employees, and those acting in privity or in active concert or participation with it,

from further infringement of the Asserted Patents;

       (c)     Compensatory damages in an amount according to proof, including lost

profits, and in any event no less than a reasonable royalty;

       (d)     Pre-judgment interest;

       (e)     Post-judgment interest;

       (f)     Attorneys’ fees based on this being an exceptional case pursuant to

35 U.S.C. § 285, including pre-judgment interest on such fees;

       (g)     An accounting and/or supplemental damages for all damages occurring

after any discovery cutoff and through final judgment;

       (h)     Costs and expenses in this action; and

       (i)     Any further relief that the Court deems just and proper.

Dated: August 26, 2019                        Respectfully submitted,

                                              /s/ Raymond W. Mort, III
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